0034-0U-EPID0U-00589702-1894612            United States Bankruptcy
                                                         For The
                                                                    Court
                                                                           Western District of New York
IN RE:     TIMOTHY J & WENDY L RANDALL                                                                        DATE             CASE No. 1710614 K
           5620 IDE ROAD                                                                                    10/20/2017               SS #1 XXX-XX-2182
           BURT, NY 14028                                                                                                                SS #2 XXX-XX-8708


                                                      MOTION TO ALLOW ADDITIONAL CLAIMS
     COMES NOW the trustee and shows the Court that the following was filed against the estate of the debtor, and that such claim was not included on
previous orders allowing claims herein:
             NAME AND ADDRESS OF CREDITOR                                                         CLAIM #              CLASSIFICATION                           AMOUNT

NIAGARA COUNTY TREASURER / PHILO J. BROOKS BUILDING                                                 009          Secured                            9,854.94
59 PARK AVENUE / LOCKPORT, NY 14094                                                                              Pay 100.0000%
                                                                                                                 3.9000%
  Please be advised that the claim number here within refers only to the                                         From Date:09/25/2017
  Trustee's claim number - not to the number assigned by the Court.
  Your trustee has examined the claim and recommends to the Court that it be deemed allowed for the amount claimed, payable in the manner classified,
  subject to the provisions of the plan and other Court orders.
   WHEREFORE, the Trustee prays that the foregoing claim be allowed as set forth above.          /s/Albert J. Mogavero
                                                                NOTICE                                          Albert J. Mogavero
At Buffalo, NY
PLEASE TAKE NOTICE that the above claim is allowed as recommended by the Trustee and payable as provided by the debtor's plan. The debtor
and debtor's attorney of record are hereby advised that written application for modification of this notice must be made within 30 days from the date
of the certificate of mailing of this notice. The motion to allow claims is deemed approved without a separate order of this Court, absent a written
application for modification.
                                                                                                     CLERK         /s/ LISA BERTINO BEASER
 DATED: 10/27/2017                                                                                                 CLERK OF COURT
            JOSEPH G. FRAZIER, ESQ.                                                                                      CERTIFICATE OF MAILING
            280 EAST AVENUE                                                                          A copy of the above Motion and notice was served upon the debtor and
                                                                                                     and his or her attorney of record by mailing a copy thereof as ordered in
            PO BOX 464
                                                                                                     envelopes on the date of said notice.
            LOCKPORT, NY 14095
                                                                                                     CLERK               /s/ M. Kleiman
                                                                                                                         CHAPTER 13 OFFICE




                     Case 1-17-10614-MJK                           Doc 49         Filed 10/27/17 Entered 10/27/17 08:59:50                                    Desc
                                                                                      Page 1 of 1
